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             EXHIBIT S
Case 1:22-cv-00321-HYJ-PJG ECF No. 14-20, PageID.557 Filed 04/25/22 Page 2 of 6


  From:            Ethan Holtz
  To:              Matthew Kuschel; Sal Amodeo
  Subject:         RE: Property at 22695 J Drive North - 7 Cities Group - Park Consulting
  Date:            Monday, February 28, 2022 5:51:59 PM
  Attachments:     image001.png
                   image002.png
                   image003.jpg
                   image004.jpg


  Matt - - don’t believe that was removed, and if so, was not done so intentionally - - Im not sure Ari
  had that version. Either way, I doubt that language will have any effect on impact with MRA; I just
  got back in town and would like to have a call to discuss when you have time let me know what
  works for you. Thanks,


  From: Matthew Kuschel <MKuschel@fsbrlaw.com>
  Sent: Monday, February 28, 2022 1:20 PM
  To: Sal Amodeo <samodeo@jaffelaw.com>
  Cc: Ethan Holtz <eholtz@jaffelaw.com>
  Subject: RE: Property at 22695 J Drive North - 7 Cities Group - Park Consulting

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  Thank you, Sal. In the proposed text, it looks like the Township’s laches, estoppel, and enforcement
  language was removed. The Township is not willing to proceed with any letter that does not
  include that language. Was that language discussed with the MRA?

  Regards,

  Matt

  FSBR             Matthew A. Kuschel
                   Associate • Fahey Schultz Burzych Rhodes

                   Direct: 517.381.3162 • Cell: 517.927.7300
                   Office: 517.381.0100 • Fax: 517.381.5051
                   fsbrlaw.com • mkuschel@fsbrlaw.com

                   4151 Okemos Road, Okemos, MI 48864 USA
                   ྍ U.S. News & World Report Ranked Best Law Firm




  From: Sal Amodeo <samodeo@jaffelaw.com>
  Sent: Monday, February 28, 2022 1:06 PM
  To: Matthew Kuschel <MKuschel@fsbrlaw.com>
  Cc: Ethan Holtz <eholtz@jaffelaw.com>
  Subject: Property at 22695 J Drive North - 7 Cities Group - Park Consulting

  Matt:
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  We have received confirmation from the MRA that a letter from the Township with the verbiage
  below will be accepted as a CoO equivalent. I have copied email communications with the MRA for
  your review. Ethan is currently in the air but we would like to know if you have a moment later to
  discuss.

  Thanks,
  Sal




  On Feb 28, 2022, 11:02 AM -0500, Hanna, Brian (LARA) <HannaB@michigan.gov>, wrote:

  Ari,

  Yes, we would accept the letter from the township supervisor as a CoO equivalent.

  Thanks.

  Brian Hanna
  Manager, Field Operations – Inspections
  Enforcement Division
  Marijuana Regulatory Agency

  O: 517-284-8599
  C: 517-285-6707
  hannab@michigan.gov
  www.michigan.gov/MRA
  <image001.png>




  From: Ari Goldstein <ag@benjamindjoffe.com>
  Sent: Monday, February 28, 2022 11:01 AM
  To: Hanna, Brian (LARA) <HannaB@michigan.gov>
  Cc: Ben Joffe <bdj@benjamindjoffe.com>
  Subject: Re: CoO issues

         CAUTION: This is an External email. Please send suspicious emails to abuse@michigan.gov

  Mr. Hanna,

  Thanks again for taking the time to speak with us last Friday.
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  Per our discussion, have we understood correctly that MRA Enforcement would be willing to accept
  the language below in a letter from the Township Supervisor as a Certificate of Occupancy
  equivalent—provided that the signatory can also authenticate the letter and confirm its substance
  upon request from Enforcement?

  We certainly don’t want to misrepresent MRA’s position on this as we continue discussions with the
  local authorities, so please feel free to correct me if I’ve misconstrued or potentially overlooked any
  key details. We are happy to further discuss any time if you have additional questions or concerns.

  Thanks again for helping us resolve this matter; we truly appreciate the guidance!

  Best,
  Ari

   Ari Goldstein
   Associate Attorney
   Benjamin D. Joffe PLLC
   (734) 834-4939


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   contains a forwarded message or is a reply to a prior message, some or all of the contents of
   this message or any attachments may not have been produced by the firm. Thank you.
  On Feb 25, 2022, 11:10 AM -0500, Ari Goldstein , wrote:

  To whom it may concern:

  It is the understanding of the Township that the greenhouse building at the proposed location at
  22695 J Drive N, Marshall, Michigan has never required, nor been granted, a Certificate of
  Occupancy for any prior use. The use of this building for agricultural purposes does not require a
  Certificate of Occupancy.
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   Ari Goldstein
   Associate Attorney
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                             bdj@benjamindjoffe.com
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   contains a forwarded message or is a reply to a prior message, some or all of the contents of
   this message or any attachments may not have been produced by the firm. Thank you.
  On Feb 24, 2022, 9:50 PM -0500, Ari Goldstein <ag@benjamindjoffe.com>, wrote:

  Good evening Mr. Hanna,

  Park Consulting Group is the applicant for the prospective greenhouse facility (application number
  GRA-C-22-001045).

  Thanks again for taking the time to address our questions—and please feel free to reach out if we
  can provide any other information or documentation in advance to assist with the discussion!

  Best,
  Ari

   Ari Goldstein
   Associate Attorney
   Benjamin D. Joffe PLLC
   (734) 834-4939




  Sal Amodeo                      JAFFE RAITT HEUER & WEISS, P.C.
  samodeo@jaffelaw.com            27777 Franklin Rd., Suite 2500
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